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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


    FLORIDA EMERGENCY PHYSICIANS
    KANG & ASSOCIATES, M.D., INC., et al.,
                                                                Case No.: 0:20-cv-60757-WPD
                   Plaintiffs,
    v.

    UNITED HEALTHCARE OF FLORIDA, INC.,
    et al.,

                    Defendants.


     UNITED DEFENDANTS’ RESPONSE TO ORDER TO SHOW CAUSE WHY THIS
       CASE SHOULD NOT BE REMANDED FOR LACK OF SUBJECT MATTER
                          JURISDICTION [DE 71]

           Defendants UnitedHealthcare of Florida, Inc., UnitedHealthcare Insurance Company, and

  UMR, Inc. (together, the “United Defendants”),1 hereby respond to this Court’s Order of March

  31, 2021, to show cause (“Show Cause Order”) as to why this matter should not be remanded to

  state court. See [DE 71].

           As this Show Cause Order recounted, on March 16, 2021, the Court dismissed without

  prejudice Counts I, II, and III of Plaintiffs’ Amended Complaint, which included Plaintiffs’ claims

  for violations of RICO, 18 U.S.C. § 1962(c) and § 1962(d). See id. at 1-2. The Court granted

  Plaintiffs leave to file a second amended complaint in an effort to re-plead those claims, but on

  March 30, 2021, Plaintiffs filed a notice stating that they did not intend to do so. “As such,” this

  Court concluded in the Show Cause Order, “the only remaining claims are [Plaintiffs’] state law




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       “United Healthcare of Florida, Inc.” is a named Defendant in the above-captioned case. The
  correct entity is “UnitedHealthcare of Florida, Inc.” For consistency, the United Defendants have
  preserved the original case caption, including its spacing error.

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  claims.” Id. at 2.

           As a result of Plaintiffs’ decision not to amended their complaint, this Court has jurisdiction

  over this action to enter a final judgment as to the dismissed federal claims (Counts I and II) before

  this action can be remanded. The United Defendants have contemporaneously filed a motion for

  partial judgment pursuant to Federal Rule of Civil Procedure 54(b) on the RICO causes of action

  (Counts I and II) that the Court dismissed. See [DE 73]. That motion respectfully requests that

  the Court provide a final disposition on those dismissed Counts while the Court indisputably still

  has subject matter jurisdiction over those claims. See Fulwood v. Fed. Bureau of Prisons, 568 F.

  App’x 753, 755 n.1 (11th Cir. 2014) (if a plaintiff “does not amend his complaint after being so

  directed by the court … the district court has nothing left to do and the court’s order of dismissal

  becomes final”); Briehler v. City of Miami, 926 F.2d 1001, 1003 (11th Cir. 1991) (per curiam)

  (“[W]here a plaintiff chooses to waive the right to amend, there is nothing left for the district court

  to do and the [dismissal] order therefore becomes final.”). As noted in that motion, failing to

  formally enter judgment as to these claims would both (1) risk allowing Plaintiffs to circumvent

  this Court’s jurisdiction by declining to re-plead the dismissed claims here, as ordered, but electing

  to re-plead those claims (or state-law RICO analogs) in state court upon remand; and (2) entirely

  deprive Defendants of an opportunity to obtain judgment on those claims because if this Court

  does not enter final judgment before remanding to state court, there is no means for the United

  Defendants ever to obtain final judgment without attempting to remove the case back to federal

  court. See [DE 73].

           If this Court grants the United Defendants’ motion for entry of judgment on Counts I and




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  II, the United Defendants would not oppose remand of the remaining claims.2




  Dated: April 9, 2021                    Respectfully submitted,

                                          /s/ Gera R. Peoples, Esq.
                                          Gera R. Peoples, Esq.
                                          Florida Bar No. 450022
                                          gera.peoples@akerman.com
                                          AKERMAN LLP
                                          98 SE Seventh Street, Suite 1100
                                          Miami, Florida 33131
                                          Telephone: (305) 374-5600

                                          Irene Bassel Frick, Esq.
                                          Florida Bar No. 0158739
                                          irene.basselfrick@akerman.com
                                          AKERMAN LLP
                                          401 East Jackson Street, Suite 1700
                                          Tampa, Florida 33602
                                          Telephone: (813) 223-7333

                                          K. Lee Blalack II (admitted pro hac vice)
                                          Kevin D. Feder (admitted pro hac vice)
                                          lblalack@omm.com
                                          kfeder@omm.com
                                          O’MELVENY & MYERS LLP
                                          1625 Eye Street, NW
                                          Washington, DC 20006
                                          (202) 383-5300

                                          Amanda L. Genovese (admitted pro hac vice)
                                          agenovese@omm.com
                                          O’MELVENY & MYERS LLP
                                          7 Times Square
                                          New York, NY 10036
                                          (212) 326-2000

                                          Natasha S. Fedder (admitted pro hac vice)
                                          nfedder@omm.com
                                          O’MELVENY & MYERS LLP

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       Such non-opposition is without waiver of the United Defendants’ position that the District
  Court has federal question jurisdiction based on ERISA complete preemption. The United
  Defendants fully reserve their rights with respect to that position.

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                                              400 South Hope Street, 18th Floor
                                              Los Angeles, CA 90071-2899
                                              (213) 430-6000

                                              Counsel for United Defendants




                                    CERTIFICATE OF SERVICE

           I hereby certify that I have this 9th day of April, 2021, electronically filed the foregoing

  with the Clerk of Court using the CM/ECF system, which will automatically send e-mail

  notification of such filing to the listed attorneys to be noticed.




                                              /s/ Gera R. Peoples, Esq.
                                              Gera R. Peoples, Esq.




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